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DFJ:JJT:mel:rah



              UNITED STATES DISTRICT COURT
       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

OLLIE OTIS REAVES,                      :
            Petitioner                  :   No. 1:19-CV-0138
                                        :
           v.                           :   (Rambo, J.)
                                        :
DAVID EBBERT, Warden,                   :
USP Lewisburg,                          :
            Respondent                  :   (Electronically Filed)

 RESPONSE TO PETITION FOR WRIT OF HABEAS CORPUS –
             SUGGESTION OF MOOTNESS

                            INTRODUCTION

     Respondent, David Ebbert, Warden of USP Lewisburg, opposes

the Petition for a Writ of Habeas Corpus filed by Ollie Otis Reaves, a

federal inmate currently confined at the United States Penitentiary in

Lewisburg, Pennsylvania (USP Lewisburg). Respondent respectfully

requests that Reaves’ habeas petition be dismissed as moot because

Reaves has received the relief he seeks in this petition.
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                       PROCEDURAL HISTORY

     In 2009, Petitioner Ollie Reaves was sentenced to a mandatory life

sentence subsequent to a jury verdict finding Reaves guilty of

possession with the intent to distribute more than 50 grams of crack

cocaine. See United States v. Reaves, No. 1:07-cr-00104-03, Doc. 357.

     On or about January 24, 2019, Reaves filed the instant Petition

for Writ of Habeas Corpus pursuant to 28 U.S.C. § 2241 requesting that

the Court vacate his life sentence and resentence him. Doc. 1 (Pet.).

On February 25, 2019, Respondent was ordered to respond to the

allegations of the petition within twenty-one (21) days. Doc. 6, Order.

At Respondent’s request, the deadline was extended until April 17,

2019. Docs. 8, 9.

     On April 5, 2019, Reaves filed a Motion for Resentencing Hearing

under Section 404 of the First Step Act. See United States v. Reaves,

No. 1:07-cr-00104-03 (M.D. Pa.), Doc. 473.

     On April 17, 2019, Respondent filed a Motion to Stay Briefing

Schedule in light of Reaves’ motion for resentencing filed in the criminal

case pending before Judge Brann. (Doc. 10.) The motion was granted


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on April 25, 2019. (Doc. 11.)

       On June 14, 2019, Judge Brann granted Reaves’ motion for

resentencing and scheduled Reaves’ sentencing hearing for August 5,

2019. See United States v. Reaves, No. 1:07-cr-00104 (M.D. Pa.), Doc.

483.

                              ARGUMENT

In Accordance with the First Step Act, Reaves is scheduled to be
resentenced on August 5, 2019, and therefore the Habeas Petition
should be dismissed as moot.

       The jurisdiction of federal courts extends only to justiciable cases

and controversies. For a matter to be justiciable, it "must be definite

and concrete, touching . . . adverse legal interests . . . [and] admitting of

a specific relief through a decree of a conclusive character . . . ." Aetna

Life Insurance Co. v. Haworth, 300 U.S. 227, 240-41 (1937).

Furthermore, a controversy must generally remain real and substantial

at all stages of the litigation, "and not simply at the date the action is

initiated." Roe v. Wade, 410 U.S. 113, 125 (1973). See also Spencer v.

Kemna, 523 U.S. 1, 7 (1998). AConsequently, a case should be

dismissed as moot where ‘developments occur during the course of


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adjudication that eliminate a plaintiff=s personal stake in the outcome of

a suit or prevent a court from being able to grant the requested relief.’@

See Randall v. Martinez, No. 4: CV-07-2151, slip op. at 1, 2008 WL

275721 (M.D. Pa., Jan. 30, 2008) (Jones, J.) (Copy attached) (quoting

Morris v. Nationalist Movement, 273 F.3d 427, 533 (3d Cir. 2001).

Accordingly, the petition should be dismissed as moot Abecause no legal

injury remains for this Court to remedy.@ Randall, slip op. at 1.

     In the instant case, Reaves has received the relief he seeks, i.e.,

resentencing; therefore, the habeas petition is moot and should be

dismissed.




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                            CONCLUSION

     For the reasons set forth above, Reaves’ habeas petition seeking

resentencing should be dismissed.


                                        Respectfully submitted,

                                        DAVID J. FREED
                                        United States Attorney

                                        /s/ Joseph J. Terz
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               CERTIFICATE OF SERVICE BY MAIL

      The undersigned hereby certifies that she is an employee in the
Office of the United States Attorney for the Middle District of
Pennsylvania and is a person of such age and discretion as to be
competent to serve papers. That on July 3, 2019, she served a copy of
the attached

    RESPONSE TO THE PETITION FOR WRIT OF HABEAS
         CORPUS – SUGGESTION OF MOOTNESS

by placing said copy in a postpaid envelope addressed to the person
hereinafter named, at the place and address stated below, which is the
last known address, and by depositing said envelope and contents in the
United States Mail at Williamsport, Pennsylvania.

Addressee:
Ollie Otis Reaves,
Reg. No. 14139-067
U.S. Penitentiary
P.O. Box 1000
Lewisburg, PA 17837               s/ Rebecca A. Hovenstine
                                  Rebecca A. Hovenstine, Contractor
                                  Senior Litigation Paralegal
